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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
         Plaintiff,                               §
                                                  §
 v.                                               §     Case No. 1:21-cv-00796-RP
                                                  §
 THE STATE OF TEXAS,                              §
                                                  §
         Defendant.                               §

      DEFENDANT’S SECOND ADVISORY REGARDING COMPLIANCE WITH THE
                COURT’S PRELIMINARY INJUNCTION ORDER

        Defendant files this updated advisory in response to the Court’s invitation to propose the

“means of disseminating th[e] information” required by its preliminary injunction “for this Court’s

review and approval.” ECF 68 at 110.

        Defendant proposes that the Office of Court Administration (“OCA”), a state agency in the

judicial branch overseen by the Supreme Court of Texas and the Chief Justice, notify state judges and

court clerks through an announcement via email. During the COVID-19 pandemic, OCA has used

this method to notify state courts and clerks of emergency orders relating to court administration. As

with any method of contacting a large and diverse group, it is possible that some courts or clerks will

not be properly listed on the announcement list at any given time, but OCA considers this the generally

accepted and reliable method of reaching those recipients by the agency responsible for providing

resources and information for the efficient administration of the Texas judiciary.

        Defendant proposes that OCA send the following announcement (attaching the preliminary

injunction order) to state courts and clerks:

                 On October 6, 2021, Judge Pitman of the U.S. District Court
                 for the Western District of Texas issued a preliminary
                 injunction relating to S.B. 8, the Texas Heartbeat Act (the
                 “Order,” attached). Here is the operative language from the



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               Order:

               IT IS ORDERED that the State of Texas, including its
               officers, officials, agents, employees, and any other persons or
               entities acting on its behalf, are preliminarily enjoined from
               enforcing Texas Health and Safety Code §§ 171.201–.212,
               including accepting or docketing, maintaining, hearing,
               resolving, awarding damages in, enforcing judgments in,
               enforcing any administrative penalties in, and administering
               any lawsuit brought pursuant to the Texas Health and Safety
               Code §§ 171.201–.212. For clarity, this Court preliminarily
               enjoins state court judges and state court clerks who have the
               power to enforce or administer Texas Health and Safety Code
               §§ 171.201–.212.

               Order at 109. The Order includes a requirement that Texas
               “inform all state court judges and state court clerks of this
               preliminary injunction and distribute [it] to all state court
               judges and state court clerks.” Order at 110. The Order also
               requires all state courts in Texas to “publish this preliminary
               injunction on all of [their] public-facing court websites with a
               visible, easy-to-understand instruction to the public that S.B. 8
               lawsuits will not be accepted by Texas courts.” Id. Each court
               website’s home page should prominently use the exact
               language from Judge Pitman’s order—“S.B. 8 lawsuits will not
               be accepted by Texas courts”—followed by a link to the Order,
               as soon as possible.

               The State has appealed Judge Pitman’s order. You will receive
               a follow-up email if and when there are any changes regarding
               the preliminary injunction.

       Defendant believes this is the best way to comply with the notice requirements in the Order.

In light of the Court’s willingness to “review and approv[e]” methods of complying with the

preliminary injunction, Defendant thought it prudent to confirm that the Court approves of

Defendant’s proposal. Defendant respectfully requests that the Court approve its proposal.




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Date: October 8, 2021              Respectfully submitted.

KEN PAXTON                         PATRICK K. SWEETEN
Attorney General of Texas          Deputy Attorney General for Special Litigation

BRENT WEBSTER                      WILLIAM T. THOMPSON
First Assistant Attorney General   Deputy Chief, Special Litigation Unit
                                   Tex. State Bar No. 24088531

                                   BETH E. KLUSMANN
                                   Assistant Solicitor General
                                   Tex. State Bar No. 24036918

                                   NATALIE D. THOMPSON
                                   Assistant Solicitor General
                                   Tex. State Bar No. 24088529

                                   /s/ Eric A. Hudson
                                   ERIC A. HUDSON
                                   Senior Special Counsel
                                   Tex. State Bar No. 24059977

                                   LEIF A. OLSON
                                   Special Counsel
                                   Tex. State Bar No. 24032801

                                   BENJAMIN S. WALTON
                                   Assistant Attorney General
                                   Tex. State Bar No. 24075241

                                   AMY S. HILTON
                                   Assistant Attorney General
                                   Tex. State Bar No. 24097834

                                   OFFICE OF THE ATTORNEY GENERAL
                                   P.O. Box 12548 (MC-009)
                                   Austin, Texas 78711-2548
                                   Tel.: (512) 463-2100
                                   Fax: (512) 457-4410
                                   will.thompson@oag.texas.gov
                                   beth.klusmann@oag.texas.gov
                                   natalie.thompson@oag.texas.gov
                                   eric.hudson@oag.texas.gov
                                   leif.olson@oag.texas.gov
                                   benjamin.walton@oag.texas.gov
                                   amy.hilton@oag.texas.gov

                                   COUNSEL FOR DEFENDANT


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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on October 8, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Eric A. Hudson
                                              ERIC A. HUDSON




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